                 Case 23-10831-MFW             Doc 996       Filed 02/20/24        Page 1 of 8




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                        Chapter 11
                                     1
Lordstown Motors Corp, et al.,
                                                        Case No. 23-10831 (MFW)
                          Debtors.
                                                        (Jointly Administered)


               NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
                        ON FEBRUARY 22, 2024 AT 10:30 A.M. (ET)


         To attend a hearing remotely, please register using the eCourtAppearance tool
                        on the court’s website at www.deb.uscourts.gov

     *The deadline to register for remote attendance is 4 PM (prevailing Eastern Time) the
                   business day before the hearing unless otherwise noticed.


I.        RESOLVED MATTERS:

          1.      Lead Plaintiff’s Motion to Apply Bankruptcy Rule 7023 to Class Claims [Docket
                  No. 668 – filed November 6, 2023]

                  Response/Objection Deadline:               November 14, 2023 at 4:00 p.m. (ET)

                  Responses/Objections Received:

                  A.      Debtors’ Objection to Ohio Lead Plaintiff’s Motion to Apply Bankruptcy
                          Rule 7023 to Class Claims [Docket No. 696 – filed November 14, 2023]

                  B.      Objection of the Official Committee of Equity Security Holders to the
                          Lead Plaintiff’s Motion to Apply Bankruptcy Rule 7023 to Class Claims
                          [Docket No. 699 – filed November 14, 2023]

                  Related Documents:

                  i.      Declaration of James Lee in Support of Debtors’ Objection to Ohio Lead
                          Plaintiff’s Motion to Apply Bankruptcy Rule 7023 to Class Claims
                          [Docket No. 697 – filed November 14, 2023]

          1
           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
     Case 23-10831-MFW       Doc 996     Filed 02/20/24    Page 2 of 8




     ii.    Certification of Counsel Regarding Stipulation Between Debtors, Ohio
            Securities Litigation Lead Plaintiff, Official Committee of Unsecured
            Creditors, and Official Committee of Equity Security Holders Regarding
            Ohio Securities Litigation Lead Plaintiffs Motion to Apply Bankruptcy
            Rule 7023 to Class Claims and Proofs of Claim Numbers 1368, 1379,
            1380, 1426, and 1434 [Docket No. 947 – filed February 2, 2024]

     iii.   Order Approving Stipulation Between Debtors, Ohio Securities Litigation
            Lead Plaintiff, Official Committee of Unsecured Creditors, and Official
            Committee of Equity Security Holders Regarding Ohio Securities
            Litigation Lead Plaintiffs Motion to Apply Bankruptcy Rule 7023 to Class
            Claims and Proofs of Claim Numbers 1368, 1379, 1380, 1426, and 1434
            [Docket No. 953 – entered February 5, 2023]

     Status: On February 5, 2024, an order was entered resolving this matter.
             Accordingly, a hearing on this matter is no longer necessary.

2.   Motion of the U.S. Securities and Exchange Commission for Order Further
     Extending Time to Take Action, to the Extent Necessary, to Determine the
     Dischargeability of a Debt to a Governmental Unit Pursuant to 11 U.S.C. §
     1141(d)(6) [Docket No. 847 – filed December 20, 2023]

     Response/Objection Deadline:          January 3, 2024 at 4:00 p.m. (ET); extended
     for the Official Committee of Unsecured Creditors, Equity Committee, and the
     Debtors until 7 days before the date of the continued hearing (which is TBD).

     Responses/Objections Received: None.

     Related Documents:

     i.     Certification of Counsel Regarding Motion of the U.S. Securities and
            Exchange Commission for Order Further Extending Time to Take Action,
            to the Extent Necessary, to Determine the Dischargeability of a Debt to a
            Governmental Unit Pursuant to 11 U.S.C. § 1141(d)(6) [Docket No. 945 –
            filed February 2, 2024]

     ii.    Order Granting Motion of the U.S. Securities and Exchange Commission
            for Order Further Extending Time to Take Action, to the Extent
            Necessary, to Determine the Dischargeability of a Debt to a Governmental
            Unit Pursuant to 11 U.S.C. § 1141(d)(6) [Docket No. 951 – entered
            February 5, 2024]

     Status: On February 5, 2024, an order was entered resolving this matter.
            Accordingly, a hearing on this matter is no longer necessary.




                                     2
            Case 23-10831-MFW        Doc 996     Filed 02/20/24    Page 3 of 8




      3.     Debtors’ Second Motion for Entry of an Order Extending the Deadline by Which
             Debtors May File Notices to Remove Actions [Docket No. 922 – filed January 19,
             2024]

             Response/Objection Deadline:        February 2, 2024 at 4:00 p.m. (ET)

             Responses/Objections Received

             Related Documents:

             i.     Certificate of No Objection Regarding Debtors’ Second Motion for Entry
                    of an Order Extending the Deadline by Which Debtors May File Notices
                    to Remove Actions [Docket No. 950 – filed February 5, 2024]

             ii.    Order Extending the Deadline by Which Debtors May File Notices to
                    Remove Actions [Docket No. 954 – entered February 7, 2024]

             Status: On February 7, 2024, an order was entered resolving this matter.
                    Accordingly, a hearing on this matter is no longer necessary.

      4.     Debtors’ Second Motion for an Order Extending the Deadline for the Debtors to
             Assume or Reject Unexpired Leases of Nonresidential Real Property Pursuant to
             11 U.S.C. § 365(d)(4) [Docket No. 923 – filed January 19, 2024]

             Response/Objection Deadline:        February 2, 2024 at 4:00 p.m. (ET)

             Responses/Objections Received

             Related Documents:

             i.     Certificate of No Objection Regarding Debtors’ Second Motion for an
                    Order Extending the Deadline for the Debtors to Assume or Reject
                    Unexpired Leases of Nonresidential Real Property Pursuant to 11 U.S.C. §
                    365(d)(4) [Docket No. 952 – filed February 5, 2024]

             ii.    Order Extending the Deadline Pursuant to Section 365(d)(4) of the
                    Bankruptcy Code to Assume or Reject Unexpired Leases of
                    Nonresidential Real Property [Docket No. 955 – entered February 7, 2024]

             Status: On February 7, 2024, an order was entered resolving this matter.
                    Accordingly, a hearing on this matter is no longer necessary.

II.        CONTINUED MATTERS:

      5.     Debtors' First Omnibus (Non-Substantive) Objection to Certain (I) Duplicate
             Claims, (II) Insufficient Documentation Claims, (III) Incorrect Debtor Claims and
             (IV) Late-Filed Claims [Docket No. 687 – filed November 10, 2023]
                                             3
     Case 23-10831-MFW       Doc 996      Filed 02/20/24    Page 4 of 8




     Response/Objection Deadline:         November 27, 2023 at 4:00 p.m. (ET)

     Responses/Objections Received:

     A.     Informal comments from Meta Systems

     B.     Objection of Fiberdyne Research Pty Ltd to Debtors' First Omnibus (Non-
            Substantive) Objection to Certain (I) Duplicate Claims, (II) Insufficient
            Documentation Claims, (III) Incorrect Debtor Claims and (IV) Late-Filed
            Claims [Docket No. 778 – filed December 4, 2023]

     Related Documents:

     i.     Notice of Submission of Proofs of Claim in Connection with Debtors' First
            Omnibus (Non-Substantive) Objection to Certain (I) Duplicate Claims,
            (II) Insufficient Documentation Claims, (III) Incorrect Debtor Claims and
            (IV) Late-Filed Claims [Docket No. 741 – filed November 27, 2023]

     ii.    Certification of Counsel Regarding Debtors' First Omnibus (Non-
            Substantive) Objection to Certain (I) Duplicate Claims, (II) Insufficient
            Documentation Claims, (III) Incorrect Debtor Claims and (IV) Late-Filed
            Claims [Docket No. 771 – filed December 5, 2023]

     iii.   Order Sustaining Debtors’ First Omnibus (Non-Substantive) Objection to
            Certain (I) Duplicate Claims, (II) Insufficient Documentation Claims,
            (III) Incorrect Debtor Claims and (IV) Late-Filed Claims [Docket No. 772
            – entered December 5, 2023]

     Status: On December 5, 2023, the Court entered an order resolving this matter for
             the claimants other than Fiberdyne. A status conference regarding the
             Fiberdyne claim has been continued to the hearing scheduled for March
             14, 2024 at 3:00 p.m. (ET).

6.   Debtors’ First Omnibus Motion for Entry of an Order (I) Authorizing the
     Assumption of Certain Executory Contracts, (II) Fixing the Cure Costs in
     Connection Thereto and (III) Granting Related Relief [Docket No. 776 – filed
     December 5, 2023]

     Response/Objection Deadline:        December 12, 2023 at 4:00 p.m. (ET);
     extended until December 14, 2023 at 4:00 p.m. (ET) for TERIS-Phoenix LLC

     Responses/Objections Received:

     Related Documents:

     i.     Notice of Filing of Revised Proposed Order Regarding Debtors’ First
            Omnibus Motion for Entry of an Order (I) Authorizing the Assumption of
                                      4
            Case 23-10831-MFW       Doc 996     Filed 02/20/24     Page 5 of 8




                   Certain Executory Contracts, (II) Fixing the Cure Costs in Connection
                   Thereto and (III) Granting Related Relief [Docket No. 808 – filed
                   December 11, 2023]

            Status: The hearing on this matter has been continued to a date and time to be
                    determined.

       7.   Debtors’ Second Motion to Extend the Debtors’ Exclusive Periods to File and
            Solicit Votes on a Chapter 11 Plan [Docket No. 935 – filed January 29, 2024]

            Response/Objection Deadline:        February 12, 2024 at 4:00 p.m. (ET)

            Responses/Objections Received

            A.     Objection of Rahul Singh to Debtors’ Second Motion to Extend the
                   Debtors’ Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan
                   [Docket No. 964 – filed February 12, 2024]

            Related Documents:

            i.     Certification of Counsel Regarding Order Granting Continuance of
                   Debtors’ Second Motion to Extend the Debtors’ Exclusive Periods to File
                   and Solicit Votes on a Chapter 11 Plan [Docket No. 968 – filed February
                   13, 2024]

            ii.    Order Granting Continuance of Debtors’ Second Motion to Extend the
                   Debtors’ Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan
                   [Docket No. 969 – entered February 13, 2024]

            Status: The hearing on this matter has been continued until March 5, 2024 at 3:00
                    p.m. (ET).

III.   CONTINUED MATTER/CONFIRMATION:

       8.   Second Modified First Amended Joint Chapter 11 Plan of Lordstown Motors
            Corp. and Its Affiliated Debtors [Docket No. 941 – filed January 31, 2024]

            Response/Objection Deadline:        December 8, 2023 at 4:00 p.m. (ET);
            extended for Former Directors and Officers until Monday, December 11, 2023 at
            12:00 p.m. (ET); extended for the Office of the United States Trustee for the
            District of Delaware until December 29, 2023 at 4:00 p.m. (ET); extended for the
            ERND until December 12, 2023 at 12:00 p.m. (ET); extended for NHTSA until
            January 3, 2024 at 4:00 p.m. (ET); extended for the Official Committee of
            Unsecured Creditors, Equity Committee, Security & Exchange Commission, the
            Ohio Securities Action Lead Plaintiff and Certain DiamondPeak Directors
            Foxconn until January 12, 2024 at 4:00 p.m. (ET); extended until February 26,
            2024 at 4:00 p.m. for Foxconn.
                                            5
Case 23-10831-MFW        Doc 996     Filed 02/20/24   Page 6 of 8




Responses/Objections Received:

A.      Objection of Rahul Singh to Debtors’ Plan (Docket #766) [Docket No.
        793 – filed December 7, 2023]

B.      Objection of the United States Trustee to Confirmation of the Debtors’
        Plan [Docket No. 878 – filed December 29, 2023]

Related Documents:

i.      Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated
        Debtors [Docket No. 360 – filed September 1, 2023]

ii.     Order (I) Approving the Disclosure Statement and the Form and Manner
        of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III)
        Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of
        Confirmation Notices, (V) Establishing Certain Deadlines in Connection
        with the Approval of the Disclosure Statement and Confirmation of the
        Plan, and (VI) Granting Related Relief [Docket No. 651 – filed November
        1, 2023]

iii.    Modified First Amended Joint Chapter 11 Plan of Lordstown Motors
        Corp. and Its Affiliated Debtors [Docket No. 657 – filed November 1,
        2023]

iv.     Notice of (I) Approval of Disclosure Statement, (II) Establishment of
        Voting Record Date, (III) Hearing on Confirmation of the Plan, (IV)
        Procedures for Objecting to the Confirmation of the Plan, and (V)
        Procedures and Deadline for Voting on the Plan [Docket No. 661 – filed
        November 1, 2023]

v.      Notice of Filing of Plan Supplement for the Modified First Amended Joint
        Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors
        [Docket No. 766 – filed December 1, 2023]

vi.     Notice of Filing of Proposed Order (I) Confirming Modified First
        Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
        Affiliated Debtors and (II) Granting Related Relief [Docket No. 767 –
        December 1, 2023]

vii.    Notice of Rescheduled Confirmation Hearing Date and Time [Docket No.
        831 – filed December 15, 2023]

viii.   Notice of Reschedule Confirmation Hearing Date and Time [Docket No.
        924 – filed January 19, 2024]

                                 6
Case 23-10831-MFW       Doc 996     Filed 02/20/24     Page 7 of 8




ix.    Notice of Filing of Blackline of Second Modified First Amended Joint
       Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors
       [Docket No. 942 – filed January 31, 2024]

x.     Notice of Rescheduled Confirmation Hearing Date and Time [Docket No.
       960 – filed February 9, 2024]

Status: The hearing on this matter has been continued until March 5, 2024 at 3:00
        p.m. (ET).



                  [Remainder of Page Intentionally Left Blank}




                                7
             Case 23-10831-MFW   Doc 996    Filed 02/20/24   Page 8 of 8




Dated: February 20, 2024
Wilmington, Delaware

/s/ Morgan L. Patterson
WOMBLE BOND DICKINSON (US) LLP          WHITE & CASE LLP
Donald J. Detweiler (DE Bar No. 3087)   Thomas E Lauria (admitted pro hac vice)
Morgan L. Patterson (DE Bar No. 5388)   Matthew C. Brown (admitted pro hac vice)
1313 North Market Street, Suite 1200    Fan B. He (admitted pro hac vice)
Wilmington, Delaware 19801              200 South Biscayne Boulevard, Suite 4900
Telephone: (302) 252-4320               Miami, FL 33131
Facsimile: (302) 252-4330               Telephone: (305) 371-2700
don.detweiler@wbd-us.com                tlauria@whitecase.com
morgan.patterson@wbd-us.com             mbrown@whitecase.com
                                        fhe@whitecase.com
Counsel to the Debtors and
Debtors in Possession                   David M. Turetsky (admitted pro hac vice)
                                        1221 Avenue of the Americas
                                        New York, NY 10020
                                        Telephone: (212) 819-8200
                                        david.turetsky@whitecase.com

                                        Jason N. Zakia (admitted pro hac vice)
                                        111 South Wacker Drive, Suite 5100
                                        Chicago, IL 60606
                                        Telephone: (312) 881-5400
                                        jzakia@whitecase.com

                                        Roberto Kampfner (admitted pro hac vice)
                                        Doah Kim (admitted pro hac vice)
                                        RJ Szuba (admitted pro hac vice)
                                        555 South Flower Street, Suite 2700
                                        Los Angeles, CA 90071
                                        Telephone: (213) 620-7700
                                        rkampfner@whitecase.com
                                        doah.kim@whitecase.com
                                        rj.szuba@whitecase.com

                                        Counsel to Debtors and
                                        Debtors in Possession




                                        8
